Case 1:22-cr-0-3LT-sko Document 8 Filed B22 Page 1 of 1

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT ISs
APR 12" f"9022 ED
Eastern District of California
CLERK U.S. DISIRICT COUBT-
United States of America py EASTERN OSrAIGZAE ACORN
Vv. “DEPUTY CLERK
DENNIS FALASCHI ) Case No. = 1:22-cr-00103 JLT-SKO
)
USwS FRESNO ROVE
) APR 15 2022 auid:01
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) DENNIS FALASCHI ;
who is accused of an offense or violation based on the following document filed with the court:

& Indictment 1 Superseding Indictment O Information © Superseding Information © Complaint
Probation Violation Petition O Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 371 — Conspiracy (One Count); 18 U.S.C. § 641 — Theft of Government Property (One Count)
26 U.S.C. § 7206(1) — Filing a False Tax Return (Three Counts)
18 U.S.C. § 981(a)(1)(C), 26 U.S.C. § 7301, and 28 U.S.C. § 2461(c) — Criminal Forfeiture

Date: Apr 14, 2022 Eee PR Droz —

Issuing officer’s signature

City and state: _ Fresno, CA Erica P. Grosjean;:U.S. Magistrate Judge

Printed name and title

Return

This warrant was received on (date) | UY Lo , and the person was arrested on (date) 7" a\ aD
at (city and state) .

pate: 4 | 33- AAS ui, kn FB (

UV" * Abvesting officer’s signature

+ A MAIC, Lh

Prinkgd name and title

